Case: 2:22-cv-02653-ALM-CMV Doc #: 106-7 Filed: 06/05/24 Page: 1 of 3 PAGEID #: 3359




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO

  STUDENT RESOURCE CENTER,  )
  LLC,                      )
                            )
       Plaintiff,           )
                            )                Case No. 2:22-cv-2653
  v.                        )
                            )                Chief Judge Algenon L. Marbley
  EASTERN GATEWAY COMMUNITY )
  COLLEGE,                  )                Magistrate Judge Chelsey M.
                            )                Vascura
       Defendant.           )
                            )
                            )




   Attachment F to the Declaration of
   Robert Folland in Support of SRC’s
   Motion for Prejudgment Attachment
Business Name:                                                                                                                                                          1    of 1
Property Address:   110 JOHN SCOTT , Case: 2:22-cv-02653-ALM-CMV
                                                           DTE Code: Doc
                                                                     670 #: 106-7 Filed: 06/05/24 Page: 2 of 3                          PAGEID #: 3360
 *0711934001*                                             STEUBEN CORP - FORT STEUBEN TOWNSHIP
                                                          STEUBENVILLE CSD
        *07-11934-001*                                    072800002E0
 LEGAL INFORMATION
 2-6-12 11-A LD & PT 15                             Acres:3.7100 M:3.7010
 BEXLEY 3.701A                                                          Internal Use Only
 MAP 07-2800-002E0 EX 2005-014                                                00106
 JEFFERSON COMM COLLEGE                                                Map:
 JEFFERSON COMM COLLEGE                                                Block:
 4000 SUNSET BLVD                                                      Card:
 STEUBENVILLE, OH 43952                                                Bk:609 Pg: 676
 COMMENT
 JEFFERSON COMM COLLEGE,@100%
 18 REVAL REDUCED PAV & FENCE, ADD CON PAV, NET CHG $222,900 LESS,
 FIRE STATION ON PCL 0711970000, TR 10-15-18




Sales Data                                                                                      Date
Date                Amount         Deed:Conv#                    Use Valid   Lister:
11/21/2003           2,200,000                       2: : 1160 670           Pricer:
11/21/2003                   0                    2:W1 : 1160                Reviewer:
                                                                             Final:
                                                                             Call Back:
                                                                             Visit:                      STREET/ROAD        TOPOGRAPHY          PU-UTILITIES-PR        ZONING
                                                                                                               PAVED             LEVEL              WATER                   AG-RES
                                         VALUATION SUMMARY                                                     GRAVEL            HIGH               SEWER                   COMMERCIAL
VALUE YEAR                                2021            2019             2018                2013...         DIRT              LOW                GAS                     INDUSTRIAL
REASON FOR CHANGE                          TRI           MISC             RAPP                  MISC           SIDEWALKS         ROLLING            ELECTRIC
ESTIMATED      LAND                    185,050         185,050          185,050               166,600          CURBS             STANDARD           STANDARD
MARKET VALUE   IMPR                  1,829,900       1,829,900        1,829,900             1,933,400
               TOTAL                 2,014,950       2,014,950        2,014,950             2,100,000                                 INFLUENCE FACTORS
ASSESSED       LAND                     64,770          64,770           64,770                58,310    A. TOPGRHY               F. VACANCY                  J. EX FRONT
VALUE          IMPR                    640,470         640,470          640,470               676,690    B. ACCESS                G. RESTRICT                 R. REVAL
               TOTAL                   705,240         705,240          705,240               735,000    D. LOCATION              H. OTHER
                                                                                                         E. SZ/SHAPE              I. Partial Interest


  LAND TYPE                        SIZE            M       RATE        C              INF                M          VALUE   C
A1:Primary               A:3.701                    50,000                                                   185,050        0




Totals:                   Total Acres 3.7010                                                                 185,050         0        185,050




 Appraisal Research Corporation                                                      COM/IND/UTL/EXP
 BF692(03189)                                                                Printed: 12/29/2021 13:01 By: prc1                                 E.J. Conn, Jefferson
                                                 EX WALL          A      ROOFING        A     WINDOW           A     DOORS         A    FOUNDATION       A       FRAMING        A
                                                STONE          GABLE/HIP
                                       Case: 2:22-cv-02653-ALM-CMV             STORE
                                                                     Doc #: 106-7    FRT 06/05/24
                                                                                  Filed:        OVERHEAD         SLAB
                                                                                                  Page: 3 of 3 PAGEID #: 3361                                  PRE ENG
CLASS/QUALITY RANK                               BRICK                SHED/FLAT           CASEMENT                             CRAWL                           STEEL
A) FP STRUCT. STEEL FRAME          1. BASIC      CON BLK              CON DECK            DBLH                                 PILE/COL                        REINF CONC
B) R.C. FRAME                      2. FAIR       WD/MTL               MTL DECK            SLIDE BY                             REINFOR                         CB/MASON
C) MASONRY BEARING WALLS           3. AVE        ENAM STL             WD DECK             CANOPY          A                    STEEL                           FRAME
D) WD OR STEEL FR EX. WALLS        4. GOOD       ALUM/VYL             METAL               LIGHTED            STEEL INS         BRICK                           POLE
S) METAL M) MILL P) POLE           5. EXCEL      CON PANEL            ASPH                SOFFITS            WOOD              STONE                           TILT UP
TOTAL AREA               PERIMETER            0 PLATE GLS             RUBBER              CSW                MTL               CON BLK                         SANDWICH
# STORIES                STORY HT                STUCCO               BUILT UP            FACADE          A GLASS              FRAME                           STANDARD
AGE                      SPRINKLER               INSULATED            INSULATED                              STANDARD          STANDARD
                  H.V.A.C.                       FLOORS          B   1    2   3   U   PARTITIONS             B    1  2 3    U INTERIOR FINISH      B  1  2   3    U
Electric                Electric Wall            CONCRETE                             MASONRY                                  UNFINISHED
Forced Air Unit         Hot Water                WOOD                                 WD STUD                                  FINISH OPEN
Hot Water, Rad          Space/ Wall Furnace      TILE A Q V T                         MTL STUD                                 FINISH DIV
Steam                   Warm & Cld Air           CARPET                               CEILINGS               B    1  2 3    U  PANEL
Ventilation             Heat Pump                ASPHALT                              ACCUT/PANEL                              PLASTER / DW
Package Unit            Ind TW Heat Pump         GRAVEL                               PLASTER/DW                               BLOCK
Hot & Cld Water         Evaporated Cool          DIRT                                 SUSP/OPEN                                GLAZED TILE
Floor Furnace           Co-Ray-Vac               STANDARD                             STANDARD                                 STANDARD
Complete HVAC           No Heat                  PLUMBING                     A                      A   LIGHTING                   A                             A
Refrig. Cooling         Standard                 NO PLUMBING                      EXTRA FIXTURES         FLUORESCENT                    METAL HALIDE
                                                 2 FIXTURE BATH                   STANDARD               SODIUM VAP                     STANDARD
YARD ITEMS                                       3 FIXTURE BATH                                          MERCURY VAP
               ITEM                     CONST HT SIZE X SIZE FL AREA      UNITS     AGE REM       CND GRD $/UNIT UNADJUSTED $ PHY       FC     EC    MARKET VALUE
A 901.030:Fence: Chain link, metal o                          1              240 1988              A   A       8.00      1,920     34     0    0               1,270
B 901.001:Paving: Asphalt                                     1 58,800           1988              A   A       2.00    117,600     50 -30OTH 0                76,440
C 901.002:Paving: Concrete                                    1  1,300           1988              A   A       3.00      3,900     50     0    0               1,950




                   ITEM                 CONST HT SIZE X SIZE FL AREA      UNITS       AGE   REM     CND   GRD      $/UNIT UNADJUSTED $ PHY    FC     EC          MARKET VALUE
A   670.999:Office                                           1                     1988     2004     A                 .00            0   0     0    0                          0
1   650.000:School                      C                    2  13,446             1988     2004S    A     A         64.00   1,721,090   22 -30(OTH) 0                  1,745,190
2   499.055:Porch: Open Brick                     3 X 28     1      84             1988              A     A         13.00       1,090   22     0    0                        850
3   650.000:2ND FLOOR OVER PORCH        C         3 X 28     1      84             1988     2004S    A     A         64.00       5,380   22     0    0                      4,200




AMENITY TOTAL                                                                                                                                                                   0
                                                                                                                                             TOTAL IMPR                 1,829,900
                                                                             COMMENTS




07-11934-001                                                                 Printed: 12/29/2021 13:01                                  E.J. Conn, Jefferson
